


















NUMBER 13-04-386-CV

COURT OF APPEALS

THIRTEENTH DISTRICT OF TEXAS

CORPUS CHRISTI - EDINBURG
___________________________________________________________________

THOMAS G. ALVIAR, ET AL.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellants,

v.

ALUMINUM COMPANY OF AMERICA, ET AL.,&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellees.
___________________________________________________________________

On appeal from the 117th District Court 
of Nueces County, Texas
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MEMORANDUM OPINION

Before Justices Hinojosa, Yañez, and Garza
Opinion Per Curiam

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellants, THOMAS G. ALVIAR, ET AL, attempted to perfect an appeal from
orders entered by the 117th District Court of Nueces County, Texas, in cause number
00-02206-B.  The orders from which this appeal is attempted were signed March 19,
2004 through March 31, 2004.  Based on the information before this Court, it does
not appear that a timely motion for new trial was filed.  Pursuant to Tex. R. App. P.
26.1, appellants’ notice of appeal was due on April 30, 2004, but was not filed until
June 21, 2004.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Notice of this defect was given so that steps could be taken to correct the
defect, if it could be done.  Appellants were advised that, if the defect was not
corrected within ten days from the date of receipt of this Court’s letter, the appeal
would be dismissed.  To date, no response has been received from appellants.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The Court, having examined and fully considered the documents on file,
appellants’ failure to timely perfect their appeal, and appellants’ failure to respond to
this Court’s notice, is of the opinion that the appeal should be dismissed for want of
jurisdiction.  The appeal is hereby DISMISSED FOR WANT OF JURISDICTION.  Any
pending motions are dismissed as moot. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;PER CURIAM


Memorandum Opinion delivered and filed this
the 30th day of September, 2004.


